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16                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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     THE CITY OF LOS ANGELES, LOS   CASE NO. 2:15-cv-05343-RGK-RAOx
19   ANGELES FIRE & POLICE PENSION
     ex rel MARCELLUS TAYLOR,       RULE 26(f) JOINT SCHEDULING
20
                                    REPORT
21                       Plaintiff,
22                                  Judge: Hon. R. Gary Klausner
     vs.                            Date:  November 23, 2015
23                                  Time:  9:00 a.m.
24   DEUTSCHE BANK, AG, et al.,     Ctrm:  850

25                              Defendants.
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 1         Under Federal Rule of Civil Procedure 26(f), Civil Local Rule 26-1, and the

 2   August 13, 2015 Order Setting Scheduling Conference (Dkt. No. 20), the parties

 3   have conferred and jointly submit this Rule 26(f) Joint Scheduling Report.

 4   I.    NATURE OF THE CASE AND CONTENTIONS OF THE PARTIES

 5         A.    Plaintiff’s Statement

 6         This qui tam action stems from Deutsche Bank’s orchestration of a massive,

 7   ongoing “pay-to-play” securities fraud perpetrated on Los Angeles Fire & Police

 8   Pension (“LAFP”). At all relevant times, Deutsche Bank owned a controlling

 9   interest in a now-defunct private equity consulting firm called Aldus Equity

10   Partners (“Aldus”). In this role, Deutsche Bank systematically defrauded LAFP by

11   recommending that LAFP invest $355 million into various private equity funds not

12   because those funds were wise investments for LAFP, but instead to enrich

13   Deutsche Bank and its network of corrupt, politically-connected “placement

14   agents.”

15         Marcellus Taylor, a former Aldus partner and an original source of the

16   allegations alleged in the Complaint, cooperated extensively with state and federal

17   government agencies investigating “pay-to-play” securities fraud in New York and

18   New Mexico. That cooperation was instrumental in any public disclosures that

19   have taken place to date. As for the claims alleged in the Complaint, Deutsche

20   Bank’s role in the fraud perpetrated on LAFP has never before been publicly

21   disclosed. Nor has any prior litigation been brought to hold Deutsche Bank

22   accountable for the harm it has caused to LAFP.

23         Despite its continued claims of ignorance of the fraudulent scheme, Mr.

24   Taylor has personal knowledge that Deutsche Bank actively participated in the

25   fraud on LAFP, and worked closely with Aldus’ corrupt founding partner to

26   maximize profits for Deutsche Bank at the expense of LAFP even after Deutsche

27   Bank learned (from Mr. Taylor) that that partner had accepted an illegal kickback

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 1   from one of Deutsche Bank’s own placement agents. Mr. Taylor’s personal

 2   knowledge is detailed in a Complaint that names the specific Deutsche Bank

 3   executives involved in the fraud, the specific fraudulent investments Deutsche

 4   Bank recommended to LAFP, and the amounts of damages caused by those

 5   investments.

 6         B.       Defendant’s Statement

 7         This is the third lawsuit filed by Marcellus Taylor against Deutsche Bank,

 8   each with similar claims and based on the same underlying facts. (The other two

 9   have been dismissed by federal and state courts in Texas and New Mexico.)

10   Taylor was a partner in the now defunct firm Aldus Equity Partners (“Aldus”), a

11   private equity consulting firm that Los Angeles Fire & Police Pensions (“LAFP”)

12   hired to recommend investments for its private equity portfolio. Taylor alleges that

13   one of his partners in the Aldus firm was corrupt and that he knew it but never

14   brought that misconduct to the attention of his client LAFP at the time. He alleges

15   now that Aldus breached its fiduciary duty to LAFP by recommending sub-par

16   investment products that were allegedly chosen to enrich placement agents who

17   were part of a corrupt arrangement with his former partner. He purports to bring

18   this action in a representative capacity on behalf of LAFP (which has declined to

19   intervene), but with the incentive that under the California False Claims Act (Cal.

20   Gov. Code §§ 12650-56, the “CFCA”), he stands to make a bounty of up to 50%

21   for himself if he is successful. Deutsche Bank was a minority investor in Aldus

22   between 2007 and 2009, and Taylor seeks to hold Deutsche Bank liable for

23   Aldus’s alleged misconduct.

24         Taylor is not a whistleblower such as the CFCA was designed to reward.

25   Since 2009, Aldus’s possible involvement in pay-to-play practices has been the

26   focal point of governmental investigations by the SEC, the FBI, the New York

27   Attorney General, state authorities in New Mexico, and the LAFP itself. It has also

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 1   been the subject of much litigation, including a federal enforcement proceeding

 2   against Aldus by the SEC, a suit against Taylor himself (among others) by the New

 3   Mexico Educational Retirement Board, and additional claims brought by other

 4   private parties. Deutsche Bank’s investment in Aldus was also well known and

 5   publicly disclosed, and numerous prior lawsuits over the last five years have

 6   sought (unsuccessfully) to hold Deutsche Bank responsible for Aldus’s

 7   misconduct. This case follows on the heels of all of these well-publicized

 8   investigations and allegations, yet Taylor claims to have discovered the alleged

 9   fraud. As set forth in more detail in Deutsche Bank’s motion to dismiss, Taylor’s

10   claims are precluded by the CFCA’s public disclosure bar, the statute of

11   limitations, and Taylor’s failure to plead fraud with particularity.

12         On the merits, Deutsche Bank maintains that it was unaware of any

13   misconduct by Aldus or any of its partners until the New York Attorney General

14   was investigating the matter, and that it would never have bought a stake in Aldus

15   (a transaction in which it lost its entire $28 million investment) if it had been aware

16   of such facts.

17   II.   MATTERS TO BE ADDRESSED UNDER RULE 26(f)

18         A.     Timing and Form of Rule 26(a) Disclosures

19                1.     Rule 26(a)(1) disclosures

20         The parties agree to exchange Rule 26(a)(1) initial disclosures by December

21   4, 2015.

22         B.     Discovery and Pretrial Plan

23         Deutsche Bank has already moved twice to dismiss this case, and,

24   particularly since all of Taylor’s earlier cases against Deutsche Bank have also

25   been dismissed, it does not believe that the parties should have to incur the sizable

26   cost of discovery unless the case survives the threshold legal challenge to the

27   sufficiency of Taylor’s claims. Deutsche Bank’s second motion to dismiss is fully

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 1   briefed and the Court has taken the motion under submission. Deutsche Bank

 2   proposes that discovery (other than Rule 26(a)(1) initial disclosures) should be

 3   stayed until the motion to dismiss is decided.

 4          Taylor believes that party and non-party discovery should begin as soon as

 5   possible.

 6          The parties agree that fact discovery should take 12 months from the date

 7   when it commences.

 8          D.    Electronically Stored Information (“ESI”)

 9          The parties state that they have taken reasonable, good-faith steps to

10   preserve potentially relevant ESI as required under the Federal Rules of Civil

11   Procedure.

12          E.    Privilege and Protective Order

13          The parties plan to submit to the Court a stipulated protective order

14   concerning treatment of confidential information.

15          F.    Additional Limitations on Discovery

16          The parties agree that no changes should be made in the limitations on

17   discovery imposed under the Federal Rules of Civil Procedure and the Local Rules

18   of the Central District of California.

19   III.   MATTERS TO BE ADDRESSED UNDER LOCAL RULE 26-1

20          A.    Complex Cases

21          The parties agree that this is not a complex case under Local Rule 26-1(a).

22          B.    Dispositive or Partially Dispositive Motions

23          The parties agree that summary judgment motions should be due 45 days

24   after the close of discovery.

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 1         C.     ADR

 2         The parties agree to proceed with ADR Procedure No. 3, under L.R. 16-

 3   15.4, by participating in a private dispute resolution proceeding within 9 months

 4   after the commencement of discovery.

 5         D.     Trial Estimate

 6         The parties estimate that trial will take 8 days.

 7         E.     Additional Parties

 8         Deutsche Bank does not intend to join any additional parties.

 9         Taylor wishes to reserve the right to join additional parties (other than

10   Deutsche Bank-affiliated persons and entities), and agrees that any motion seeking

11   leave to join additional parties shall be filed no later than 3 months after the

12   commencement of discovery. Deutsche Bank reserves the right to oppose any such

13   motion.

14         F.     Expert Witnesses

15         The parties agree to exchange Rule 26(a)(2) disclosures 10 months after the

16   commencement of discovery.

17                                             Respectfully submitted,

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